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 1   CLEMENTE M. JIMÉNEZ, ESQ.
     California State Bar Number 207136
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     (916) 443-8055
 4
 5   Attorney for Deborah Ann Martinez
 6
                                            UNITED STATES DISTRICT COURT
 7
                                        EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,                             Case No.: 20-mj-135 KJN

11                       Plaintiff,                        DEFENDANT’S WAIVER OF
12                                                         PERSONAL APPEARANCE AND
               vs.                                         CONSENT TO APPEAR VIA VIDEO
13                                                         TELECONFERENCE
14   DEBORAH ANN MARTINEZ,
                                                           DATE: September 15, 2020
15                       Defendant.                        TIME: 10:00 a.m.
16                                                         JUDGE: Hon. Morrison C. England, Jr.

17
               Pursuant to CARES Act §15002(b), DEBORAH ANN MARTINEZ, by and
18
     through her counsel of record, Clemente M. Jiménez, consents to proceed with her initial
19
     appearance in magistrate court via video teleconference. Counsel has advised Ms.
20
     Martinez of her right to be personally present for her hearing, and also discussed waiving
21
     her personal appearance and appearing via video teleconference. Ms. Martinez waives
22   her right to personally appear at her initial appearance on September 15, 2020 and
23   consents to appear by video teleconference.
24             Pursuant to Gen. Order 616, counsel for Ms. Martinez has signed this waiver on
25   her behalf.
26
27   DATED:              September 14, 2020            /s/ Deborah Ann Martinez
28                                                     DEBORAH ANN MARTINEZ



     20mj135.consent to video appear.0914                         -1-
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 1
     I agree and consent to Ms. Martinez’ appearance by video teleconference.
 2
 3
     DATED:              September 14, 2020   /S/   Clemente M. Jiménez
 4
                                              CLEMENTE M. JIMÉNEZ
 5                                            Attorney for Deborah Ann Martinez
 6
 7
                                              ORDER
 8
 9             IT IS SO ORDERED.
10
     Dated: September 14, 2020
11                                              _____________________________________
12                                              CAROLYN K. DELANEY
                                                UNITED STATES MAGISTRATE JUDGE
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     20mj135.consent to video appear.0914                 -2-
